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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

                                            §
  ADVANCED CODING TECHNOLOGIES,             §      Case No. 2:24-cv-00572-JRG
  LLC,                                      §      (LEAD CASE)
                                            §
                         Plaintiff,         §      JURY TRIAL DEMANDED
                                            §
                V.                          §
                                            §
  APPLE INC.,                               §
                                            §
                         Defendant.         §

                                            §
  ADVANCED CODING TECHNOLOGIES,             §      Case No. 2:24-cv-00687-JRG
  LLC,                                      §      (MEMBER CASE)
                                            §
                         Plaintiff,         §      JURY TRIAL DEMANDED
                                            §
                V.                          §
                                            §
  APPLE INC.,                               §
                                            §
                         Defendant.         §
                                            §



                DECLARATION OF JACK LESLIE IN SUPPORT OF
                DEFENDANT APPLE INC.'S MOTION TO DISMISS
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